Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 1 of 12



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 17-24337-CIV-ALTONAGA/Goodman

  TODD SKOKAN and
  LISA SKOKAN,

         Plaintiffs,
  v.

  ROYAL CARIBBEAN CRUISES, LTD.,

        Defendant.
  ____________________________________/

                                             ORDER

         THIS CAUSE came before the Court on Defendant, Royal Caribbean Cruises, Ltd.’s

  Motion for Summary Judgment [ECF No. 73], filed September 17, 2018. On October 2, 2018,

  Plaintiffs, Todd Skokan and Lisa Skokan, filed a Memorandum of Law Opposing Defendant’s

  Motion for Summary Judgment [ECF No. 84] (the “Response”), to which Defendant filed a

  Reply [ECF No. 88] on October 5, 2018. The Court has carefully considered the parties’

  submissions, their exhibits, the record, and applicable law. For the reasons that follow, the

  Motion is denied.

                                      I.      BACKGROUND

         This is a maritime wrongful death action. On December 17, 2016, Nathan Skokan joined

  his parents, the Plaintiffs Todd and Lisa Skokan, and his two brothers, Zachary and Samuel

  Skokan, for a five-day cruise onboard the Independence of the Seas, a vessel owned and operated

  by Defendant. (See Defendant’s Statement of Material Facts (the “Def.’s SOF”) ¶ 1; Pls.’ Resp.

  to Def.’s SOF ¶ 1). On the last night of the cruise, Nathan, while intoxicated, made his way to

  the ship’s exterior 12th floor deck with multiple passengers he had met on the cruise. (See SOF
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 2 of 12
                                                 CASE NO. 17-24337-CIV-ALTONAGA/Goodman


  ¶¶ 7, 10–12; Pls.’ Resp. to Def.’s SOF ¶¶ 7, 10–12). One of those passengers jokingly suggested

  they should jump overboard, pointing to the hand rail. (See SOF ¶ 15; see also Pls.’ Resp. to

  Def.’s SOF ¶ 15). In turn, Nathan pretended to throw himself up on the handrail, but when he

  went to sit on the hand rail, he fell off the side. (See id.). According to Plaintiffs, Nathan

  accidentally fell off the vessel after losing his balance on the hand rail. (See Pls.’ Resp. to Def.’s

  SOF ¶¶ 15, 19–21). One of the passengers testified that Nathan, seemingly intoxicated, lost his

  balance, slipped, and accidentally flipped over the ship’s railing. (See id. ¶ 21).

         Based on the events that transpired before and after Nathan’s fall and death, Plaintiffs

  filed an Amended Complaint [ECF No. 29] (the “FAC”) against Defendant on March 3, 2018.

  The Amended Complaint states three claims for relief: (1) wrongful death under the Death of the

  High Seas Act (Count I) (see id. ¶¶ 28–35); (2) intentional infliction of emotional distress

  (Count II) (see id. ¶¶ 36–42); and (3) false imprisonment (Count III) (see id. ¶¶ 43–48).

  Defendant seeks summary judgment on all counts. (See generally Mot.).

                                      II.     LEGAL STANDARDS

     A. Summary Judgment Standard

         Summary judgment is rendered if the pleadings, the discovery and disclosure materials

  on file, and any affidavits show there is no genuine issue as to any material fact and the movant

  is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(a), (c). An issue of fact is

  “material” if it might affect the outcome of the case under the governing law. See Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). It is “genuine” if the evidence could lead a

  reasonable jury to find for the non-moving party. See id.; see also Matsushita Elec. Indus. Co. v.

  Zenith Radio Corp., 475 U.S. 574, 587 (1986).

         At summary judgment, the moving party has the burden of proving the absence of a

  genuine issue of material fact, and all factual inferences are drawn in favor of the non-moving
                                                    2
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 3 of 12
                                                CASE NO. 17-24337-CIV-ALTONAGA/Goodman


  party. See Allen v. Tyson Foods Inc., 121 F.3d 642, 646 (11th Cir. 1997). Courts must consider

  the entire record and not just the evidence singled out by the parties. See Clinkscales v. Chevron

  U.S.A., Inc., 831 F.2d 1565, 1570 (11th Cir. 1987). The non-moving party’s presentation of a

  “mere existence of a scintilla of evidence” in support of its position is insufficient to overcome

  summary judgment. Anderson, 477 U.S. at 252.

         If there are any factual issues, summary judgment must be denied and the case proceeds

  to trial. See Whelan v. Royal Caribbean Cruises Ltd., No. 1:12-CV-22481, 2013 WL 5583970,

  at *2 (S.D. Fla. Aug. 14, 2013) (citing Envtl. Def. Fund v. Marsh, 651 F.2d 983, 991 (5th Cir.

  1981)). Even when the parties “agree on the basic facts, but disagree about the inferences that

  should be drawn from these facts[,]” summary judgment “may be inappropriate.” Id. (alteration

  added; citation omitted). “If reasonable minds might differ on the inferences arising from

  undisputed facts, then . . . [c]ourt[s] should deny summary judgment.” Id. (alterations added;

  citations omitted). Additionally, courts cannot weigh conflicting evidence. See Skop v. City of

  Atlanta, Ga., 485 F.3d 1130, 1140 (11th Cir. 2007) (quoting Carlin Commc’n, Inc. v. S. Bell Tel.

  & Tel. Co., 802 F.2d 1352, 1356 (11th Cir. 1986)).

     B. General Maritime Law

         “General maritime law governs tort actions between a cruise line and its passengers.”

  Taiariol v. MSC Crociere, S.A., No. 0:15-CV-61131, 2016 WL 1428942, at *3 (S.D. Fla. Apr.

  12, 2016) (citing Keefe v. Bah. Cruise Line, Inc., 867 F.2d 1318, 1320 (11th Cir. 1989)). Federal

  maritime law applies when: (1) the alleged tort occurred on navigable waters; (2) the incident has

  the potential to disrupt maritime commerce; and (3) the general activity giving rise to the

  incident has a substantial relationship to traditional maritime activity. See Frasca v. NCL (Bah.),




                                                  3
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 4 of 12
                                                  CASE NO. 17-24337-CIV-ALTONAGA/Goodman


  Ltd., 654 F. App’x 949, 951 (11th Cir. 2016) (citing Doe v. Celebrity Cruises, Inc., 394 F.3d 891,

  900 (11th Cir. 2004)).

                                           III.    ANALYSIS

     A. Count I — Negligence

         Plaintiffs’ negligence claim is based on two categories of Defendant’s conduct: (1)

  serving Nathan substantial amounts of alcohol in the hours before his death; and (2) inadequately

  attempting to rescue Nathan once he fell overboard. (See FAC ¶¶ 28–35). Defendant asserts it is

  entitled to summary judgment on both theories of negligence (see Mot. 15), each of which the

  Court addresses in turn.

         i.      Negligence in Serving Alcohol

         First, Defendant moves for summary judgment on Plaintiffs’ negligence claim predicated

  on Defendant’s serving Nathan substantial amounts of alcohol in the hours before his death.

  (See id. 16–18). “[A] cause of action for over service of alcohol sounds in negligence.” Doe v.

  NCL (Bah.) Ltd., No. 11-22230-Civ, 2012 WL 5512347, at *6 (S.D. Fla. Nov. 14, 2012) (citation

  omitted). “Under maritime law, the owner of a ship in navigable waters owes passengers a ‘duty

  of reasonable care’ under the circumstances.” Sorrels v. NCL (Bah.) Ltd., 796 F.3d 1275, 1279

  (11th Cir. 2015) (citations omitted). To prevail in a maritime negligence claim, a plaintiff must

  show: “(1) the defendant had a duty to protect the plaintiff from a particular injury; (2) the

  defendant breached that duty; (3) the breach actually and proximately caused the plaintiff’s

  injury; and (4) the plaintiff suffered actual harm.” Chaparro v. Carnival Corp., 693 F.3d 1333,

  1336 (11th Cir. 2012) (citations omitted).

         In its Motion, Defendant solely addresses the element of proximate causation, insisting

  Nathan’s “intentional[] and conscious[]” decision to jump over the railing was the sole proximate



                                                   4
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 5 of 12
                                                CASE NO. 17-24337-CIV-ALTONAGA/Goodman


  cause of his death, and that his alcohol intake was not closely linked to his death.

  (Mot. 18 (alterations added)). The Court disagrees.

         Plaintiffs supply the Court with ample evidence disputing Defendant’s characterization of

  Nathan’s death as intentional. (See Resp. 23–26). Plaintiffs point to multiple facts in the record

  showing (1) eyewitnesses observed Nathan intoxicated hours before his death, including

  Defendant’s employee who observed Nathan intoxicated 20 minutes before Nathan fell

  overboard (see Plaintiffs’ Statement of Facts (the “Pls.’ SOF”) ¶¶ 69–71); (2) eyewitnesses

  observed Nathan lost his balance and accidentally went overboard (see Def.’s SOF ¶ 15; Pls.’

  Resp. to Def.’s SOF ¶¶ 19–22), due to alcohol intoxication (see Pls.’ SOF ¶¶ 72, 74); (3) in the

  12 hours preceding Nathan’s fall, Defendant served Nathan at least 30 ounces of alcohol,

  including six full-sized martinis at the martini making class earlier in the day and at least seven

  vodkas, two vodkas mixed with Red Bull, and one cognac (see id. ¶¶ 66, 68); and (4) expert

  testimony that at the time Nathan went overboard, his level of intoxication had “presented an

  extreme risk of harm,” supported by Nathan’s blood-alcohol content of at least .256 gm/dl,

  which can cause disorientation vertigo, muscular incoordination, and significantly impaired

  judgment (id. ¶ 73).

         In light of the multiple eyewitness accounts, the expert report, and records showing

  Nathan was intoxicated leading to his accidental death, the Court rejects Defendant’s assertion

  the Court must conclude as a matter of law that Nathan “simply chose to go over the railing.”

  (Mot. 18). The record is replete with disputes of fact on the element of proximate causation. See

  Doe v. NCL (Bah.) Ltd., No. 11-22230-Civ, 2012 WL 5512314, at *4 (S.D. Fla. Nov. 14, 2012)

  (denying summary judgment where plaintiff was overserved alcohol on vessel and was observed

  by crewmembers to be intoxicated because those facts presented “issues [of] material fact[] [that]



                                                  5
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 6 of 12
                                                CASE NO. 17-24337-CIV-ALTONAGA/Goodman


  remain[ed] unresolved” and thus “judgment as a matter of law [wa]s not warranted on the issue

  of the alleged over service of alcohol by [d]efendant.” (alterations added)). Defendant’s motion

  for summary judgment as to Plaintiffs’ first theory of negligence is therefore denied.

         ii.     Negligence in Search and Rescue Efforts

         Defendant also moves for summary judgment on Plaintiffs’ negligence claim predicated

  on Defendant’s efforts to rescue Nathan once he fell overboard. (See Mot. 18–19). A shipowner

  is required to act with reasonable care under the circumstances to rescue persons that go

  overboard. See Broberg v. Carnival Corp., 303 F. Supp. 3d 1313, 1317 (S.D. Fla. 2017).

  Specifically, a cruise line has a “duty to exercise reasonable care to furnish such aid and

  assistance as ordinarily prudent persons would render under similar circumstances.” Franza v.

  Royal Caribbean Cruises, Ltd., 772 F.3d 1225, 1246 (11th Cir. 2014) (quoting Barbetta v. S/S

  Bermuda Star, 848 F.2d 1364, 1371 (5th Cir. 1988)). One way to determine what is reasonable

  under the circumstances is to present evidence of industry practice or guidelines, including

  evidence of a custom within a particular industry group or organization. See Holderbaum v.

  Carnival Corp., 87 F. Supp. 3d 1345, 1353 (S.D. Fla. 2015) (citations omitted).

         Defendant asserts its search and rescue efforts, albeit unsuccessful, were reasonable as a

  matter of law because its employees (1) immediately began searching for Nathan when informed

  Nathan had gone overboard; (2) searched for Nathan until the Coast Guard arrived and took over

  the search; and (3) used search lights, and not life boats –– the only optimal rescue strategy given

  that using life boats in the pitch black waters would have been unrealistic. (See Mot. 19). Again,

  the Court disagrees.

         Plaintiffs point to multiple facts in the record that support a finding that Defendant’s

  search and rescue efforts were unreasonable. (See Resp. 26–27). Even though eyewitnesses



                                                   6
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 7 of 12
                                                CASE NO. 17-24337-CIV-ALTONAGA/Goodman


  immediately notified cruise personnel that Nathan had fallen overboard from the 12th floor deck

  (see Def.’s SOF ¶ 24; Pls.’ Resp. to Def.’s SOF ¶ 24), Defendant (1) did not lower the rescue

  boats until two hours after being notified (see Pls.’ Resp. to Def.’s SOF ¶ 26; see also Pls.’ SOF

  ¶ 93); (2) did not have its Rescue Team 2 ready for over an hour and a half after Rescue Team 1

  was ready (see Pls.’ SOF ¶ 99); and (3) placed its crew members approximately 100 feet above

  the water during the night, without additional use of search and rescue techniques (see id. ¶ 100).

  These facts, along with Plaintiffs’ expert opinion on the reasonable standard of care exercised in

  the industry (see id. ¶¶ 98–99), all present a genuine question of fact for a jury to decide ––

  whether Defendant was negligent in its search and rescue efforts. See Varner v. Celebration

  Cruise Operator, Inc., No. 0:15-CIV-60867-WPD, 2016 WL 7508258, at *6 (S.D. Fla. Sept. 30,

  2016) (denying summary judgment where plaintiffs “put forth record evidence to support their

  allegations of [n]egligent [r]escue [e]fforts” including “the time it took for the crew to respond

  once they were made aware that [the decedent] had gone overboard” reasoning those facts “are

  material because they could affect the outcome of the case.” (alterations added; citation to record

  omitted)). The Court thus denies summary judgment on Count I.

     B. Count II — Intentional Infliction of Emotional Distress

         Defendant also moves for summary judgment on Plaintiffs’ claim of intentional infliction

  of emotional distress. (See Mot. 10–13). Plaintiffs’ intentional infliction of emotional distress

  claim is based on Defendant’s announcement that Nathan “intentionally” fell overboard, which

  caused Plaintiffs immense grief that their son may have committed suicide –– which according to

  Plaintiffs, Defendant and its employees knew at the time to be patently false. (FAC ¶¶ 36–42).

         The Court applies Florida law to determine whether the allegations concerning Plaintiffs’

  intentional infliction of emotional distress claim are sufficient. See Garcia v. Carnival Corp.,



                                                  7
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 8 of 12
                                                  CASE NO. 17-24337-CIV-ALTONAGA/Goodman


  838 F. Supp. 2d 1334, 1339 (S.D. Fla. 2012) (applying Florida law to the intentional infliction of

  emotional distress claim of a cruise ship passenger).         “To prove intentional infliction of

  emotional distress under Florida law, the plaintiff must prove: (1) deliberate or reckless infliction

  of mental suffering; (2) by outrageous conduct; (3) which conduct must have caused the

  suffering; and (4) the suffering must have been severe.” Hart v. United States, 894 F.2d 1539,

  1548 (11th Cir. 1990) (citations omitted).

         Defendant asks the Court to find as a matter of law that its announcements that Nathan

  “intentionally” went overboard were not outrageous.          (Mot. 10).    Specifically, Defendant

  contends there is no evidence to support Plaintiffs’ claim where Nathan intentionally ran and

  leaned over the railing and where Defendant had to inform guests why the vessel was late into

  port. (See id. 13). Defendant insists this is not a case with a defendant deciding to “play a cruel

  joke” on the Plaintiffs without cause. (Id.).

         Even though Defendant insists its facts are “undisputed” (id.), Plaintiffs point to evidence

  which they claim presents triable issues of fact for a jury to decide. (See Resp. 13–19). Most

  notably, about seven hours after Nathan fell overboard and seven hours after being informed by

  multiple eyewitnesses that Nathan’s fall was an accident, Defendant made three public

  announcements, for thousands of passengers including Plaintiffs to hear, that a person on board

  “was witnessed intentionally going overboard from deck 12.” (Def.’s SOF ¶ 52; Pls.’ SOF ¶ 82;

  see also Independence of the Seas December 22, 2016 Public Announcement [ECF No. 73-9]).

  Defendant also issued a statement to the press stating Nathan had intentionally gone overboard.

  (See Def.’s SOF ¶ 55; Pls.’ Resp. to Def.’s SOF ¶ 55; see also Third Amended Responses to

  Plaintiffs’ Requests for Production of Documents [ECF No. 73-10] 1–2).




                                                   8
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 9 of 12
                                                  CASE NO. 17-24337-CIV-ALTONAGA/Goodman


          Although a close call, the Court again agrees with Plaintiffs. As Plaintiffs note (see Resp.

  14–15), this is not an ordinary situation, but one where the allegations “involve improper

  statements regarding the cause of a loved one’s death . . . .” Markham v. Carnival Corp., No.

  12-23270-CV, 2012 WL 12866787, at *3 (S.D. Fla. Dec. 3, 2012) (alteration added). “[I]n this

  unique area, behavior which in other circumstances might be merely insulting, frivolous, or

  careless becomes indecent, outrageous and intolerable.”        Id. (internal quotation marks and

  citation omitted).

          Defendant correctly points out that the undersigned’s Markham decision was on a motion

  to dismiss, and not a motion for summary judgment. (See Reply 2). Defendant is mistaken,

  however, in asserting the Court must therefore find, as a matter of law, that (1) this is “not a

  situation where [Defendant] outright lied about [d]ecedent’s death to either hide its own

  misconduct,” and that (2) [i]ntentionally going overboard was probably the most sanitary way to

  describe this incident for the passengers onboard,” because Defendant “never used the words

  “suicide” or that Nathan “killed himself.” (Reply 4–5 (alterations added)). Those are factual

  assertions for the jury, not the Court, to assess.

          Indeed, Plaintiffs’ claim that by repeatedly announcing Nathan “intentionally” went

  overboard, Defendant falsified the true cause of Nathan’s death and publicly disclosed Nathan

  had committed suicide is supported by evidence showing Defendant was informed by

  eyewitnesses that Nathan’s death was an accident. (See Pls.’ SOF ¶¶ 76–80). Plaintiffs construe

  these facts as a cover up (see Resp. 16) and provide evidence showing Plaintiffs were

  emotionally distressed as they understood the announcement to mean Nathan had committed

  suicide. (See id. ¶¶ 86–88; see also Pls.’ Resp. to Def.’s SOF ¶ 56). To even attempt to resolve

  this dispute of fact would intrude on the province of the jury. See Anderson, 477 U.S. at 255



                                                       9
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 10 of 12
                                                  CASE NO. 17-24337-CIV-ALTONAGA/Goodman


   (“Credibility determinations, the weighing of evidence, and the drawing of legitimate inferences

   from the facts are jury functions, not those of a judge . . . .” (alteration added)). This, the Court

   will not do. Accordingly, summary judgment on Count II is denied.

      C. Count III — False Imprisonment

          Finally, Defendant moves for summary judgment on Plaintiffs’ false imprisonment claim.

   (See Mot. 13–15). Plaintiffs allege that during Defendant’s search and rescue efforts, Defendant

   confined them in a cabin against their will. (See FAC ¶¶ 43–48).

          To establish false imprisonment, a plaintiff must prove: “(a) an act intending to confine

   another within fixed boundaries; (b) the act directly or indirectly results in such a confinement;

   and (c) the confined person is conscious of or harmed by the confinement.” Barnes v. Carnival

   Corp., No. 06-20784-CIV, 2006 WL 8433555, at *4 (S.D. Fla. Dec. 22, 2006) (citation omitted).

   False imprisonment is “the unlawful restraint of a person against his will, the gist of which action

   is the unlawful detention of the plaintiff and the deprivation of his liberty.” Johnson v. Barnes &

   Noble Booksellers, Inc., 437 F.3d 1112, 1116 (11th Cir. 2006) (internal quotation marks and

   citation omitted).   The plaintiff must “establish imprisonment contrary to his will and the

   unlawfulness of the detention.” Id. (internal quotation marks and citation omitted; other citations

   omitted)).

          Defendant contends the Skokans were never confined to their cabin and even if they

   were, Defendant had the contractual authority to confine them based on the passenger ticket

   contract. (See Mot. 13). Defendant asserts it is “undisputed” Defendant never told Plaintiffs

   they had to remain in their cabin, that none of the Skokans asked to leave, and that Defendant

   provided them a crewmember outside their door for assistance.             (Id. 14).   According to




                                                    10
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 11 of 12
                                                 CASE NO. 17-24337-CIV-ALTONAGA/Goodman


   Defendant, Plaintiffs are misconstruing “hospitality for confinement” and the Court should find

   as such as a matter of law. (Id.). The Court disagrees.

          There remain genuine disputes of material fact as to whether Plaintiffs were confined

   against their will. (See Resp. 20–22). Defendant’s head of security directed a security guard to

   escort Plaintiffs to their cabin and told Plaintiffs to “stay there” even though Plaintiffs refused

   the security escort. (Pls.’ Resp. to Def.’s SOF ¶¶ 31–32). Once Defendants confined the Skokan

   family, a “big,” “tall,” and “intimidating” guard was posted immediately outside the cabin’s

   door. (Id. ¶ 38). Lisa, Todd, and Sam Skokan all testified the guard did not allow them to leave

   the cabin. (See id. ¶ 37).

          For example, when Lisa Skokan tried to leave the cabin, the security guard approached

   her, put both of his hands out, stepped toward her, and prevented her from leaving the cabin.

   (See id. ¶ 39). Plaintiffs remained in the cabin with the security guard outside the door until all

   of the other passengers disembarked the ship. (See id. ¶ 60). Given the record evidence, only

   some of which the Court outlines above, Plaintiffs’ false imprisonment claim clearly presents

   triable issues of fact for a jury to decide. See Spears v. Albertson’s, Inc., 848 So. 2d 1176, 1178

   (Fla. 1st DCA 2003) (where plaintiff testified she asked to leave but defendant prevented her

   from doing so by blocking the door, “disputed issues of material fact remain[ed] as to whether

   [plaintiff] was, in fact, held against her will, thus precluding summary judgment.” (alterations

   added)).

          Defendant’s alternative argument the confinement was permissible based on the terms of

   Plaintiffs’ contract with Defendant (see Mot. 15) is unavailing. As Plaintiffs note (see Resp. 22–

   23), the contract only authorized Defendant to confine passengers when a passenger is “believed

   to present a possible danger, security risk or be detrimental to himself or the health, welfare,



                                                   11
Case 1:17-cv-24337-CMA Document 96 Entered on FLSD Docket 10/17/2018 Page 12 of 12
                                                   CASE NO. 17-24337-CIV-ALTONAGA/Goodman


   comfort or enjoyment of others, or is in violation of any provision of this Agreement.” (Def.’s

   SOF ¶ 3; Pls.’ Resp. to Def.’s SOF ¶ 3; see also Independence of the Seas Guest Ticket Booklet

   [ECF No. 73-2] 16–17). While Defendant insists the ticket contract gave it the authority to

   confine Plaintiffs based on Defendant’s “sole opinion” (Reply 8 (quoting Guest Ticket Booklet

   16)), Defendant does not state how even in its opinion any such circumstance or threat existed.

   (See generally Mot; Reply). The passenger ticket contract thus did not vest Defendant with

   authority to confine Plaintiffs against their will. Summary judgment as to Count III is denied.

                                             IV.   CONCLUSION

          For the foregoing reasons, it is

          ORDERED AND ADJUDGED that Defendant’s Motion for Summary Judgment

   [ECF No. 73] is DENIED.

          DONE AND ORDERED in Miami, Florida, this 16th day of October, 2018.



                                                         _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




                                                    12
